Case 4:17-cv-00454-GKF-JFJ      Document 241 Filed in USDC ND/OK on 11/16/18   Page 1 of
                                           59



                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OKLAHOMA


   VIDEO GAMING TECHNOLOGIES, INC.,

               Plaintiff,                       CASE NO. 17-CV-00454-GKF-JFJ
   v.
                                                PUBLIC – REDACTED VERSION
   CASTLE HILL STUDIOS LLC, et al.

               Defendants.



               DEFENDANTS’ BRIEF IN OPPOSITION TO PLAINTIFF’S
                  MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 4:17-cv-00454-GKF-JFJ                              Document 241 Filed in USDC ND/OK on 11/16/18                                            Page 2 of
                                                                   59



                                                            TABLE OF CONTENTS




   TABLE OF AUTHORITIES ....................................................................................................... ii

   I.         INTRODUCTION ............................................................................................................... 1

   II.        STATEMENT OF DISPUTED MATERIAL FACTS ..................................................... 2

   III. STATEMENT OF UNDISPUTED MATERIAL FACTS.............................................. 11

        A.          VGT’ S GAMES ARE NON-COMPLIANT AND LARGELY ILLEGAL .......................................... 11

        B.          VGT’ S “TRADE DRESS” IS MISAPPROPRIATED AND COPIED............................................... 12

        C.          VGT’ S CHANGES TO “TRADE DRESS” INCREASES ALLEGED LIKELIHOOD OF CONFUSION 15

   IV. VGT IS NOT ENTITLED TO JUDGMENT ON ITS TRADE SECRET CLAIMS .. 16

        A.          VGT’ S ALLEGATION THAT ITS                                                                               IS A TRADE SECRET
                    RAISES QUESTIONS OF FACT WHICH SHOULD NOT BE RESOLVED ON SUMMARY
                    JUDGMENT ......................................................................................................................... 18

             i.        The Alleged Trade Secret Lacks Independent Economic Value...................................... 19

             ii.       VGT Has Not Taken Reasonable Measures to Protect its Alleged Trade Secret............. 20

             iii.      VGT’s Algorithm is Not a Trade Secret Because it is Readily Ascertainable and Publicly
                       Known .......................................................................................................................... 21

        B.          VGT CANNOT MEET ITS BURDEN TO DEMONSTRATE MISAPPROPRIATION ....................... 25

             i.        The Two Algorithms Contain Significant Differences .................................................... 25

             ii.       VGT Cannot Prove Castle Hill “Knew” the Algorithm Was a VGT Trade Secret.......... 26

             iii.      The Confidentiality Provision of Mr. Suggs’ Employee Agreement With VGT is Overly
                       Broad and Unenforceable as a Matter of Law ................................................................ 26

        C.          VGT HAS NOT BEEN HARMED BY CASTLE HILL’ S SUBMISSION OF THE
                               TO A TESTING LAB THAT ALREADY O WES VGT CONFIDENTIALITY
                    O BLIGATIONS..................................................................................................................... 28

   V.               VGT IS NOT ENTITLED TO JUDGMENT ON CASTLE HILL’S
                    AFFIRMATIVE DEFENSES ........................................................................................ 29

        A.          THE E VIDENCE SUPPORTS CASTLE HILL’ S UNCLEAN HANDS DEFENSE............................. 30

                                                                                i
Case 4:17-cv-00454-GKF-JFJ                          Document 241 Filed in USDC ND/OK on 11/16/18                                  Page 3 of
                                                               59



           i.          VGT’s Hands are Unclean Because its Games are Non-Compliant ................................ 31

                  1.      VGT’s Games are Non-Compliant and Largely Illegal ............................................... 32

                  2.      VGT’s Non-Compliant Games Deceive and Harm the Public ................................... 34

                  3.      VGT’s Non-Compliant Games Directly Harm Castle Hill.......................................... 35

           ii.         VGT’s Hands are Unclean Because its “Trade Dress” is Misappropriated and Copied... 37

           iii.        VGT’s Hands are Unclean Because VGT’s Recent Changes to its “Trade Dress” Increases
                       the Alleged Likelihood of Confusion ............................................................................. 39

           iv.         Castle Hill’s Unclean Hands Defense Applies to VGT’s Oklahoma Law Claims ............ 43

           v.          Castle Hill’s Unclean Hands Defense Applies to VGT’s Trade Secret Claims................. 44

      B.          THE E VIDENCE SUPPORTS CASTLE HILL’ S ILLEGALITY DEFENSE ...................................... 45

           i.          VGT’s Games are Non-Compliant................................................................................. 46

           ii.         There is a Nexus Between VGT’s Non-Compliance & Trademark Use.......................... 47

           iii.        VGT’s Non-Compliance is Material ............................................................................... 48

           iv.         Castle Hill’s Illegality Defense Applies to VGT’s Oklahoma Law Claims ....................... 50

   VI. CONCLUSION.................................................................................................................. 50




                                                                         ii
Case 4:17-cv-00454-GKF-JFJ                     Document 241 Filed in USDC ND/OK on 11/16/18                                     Page 4 of
                                                          59



                                                TABLE OF AUTHORITIES



                                                                 CASES

   1-800 Contacts, Inc. v. Lens.com, Inc.,
       722 F.3d 1229 (10th Cir. 2013) ............................................................................................ 31, 38

   American Bank & Trust Co. v. Bond Intern. Ltd.,
     2007 WL 188134 (N.D. Okla. Jan. 19, 2007) ....................................................................... 46, 50

   Anderson v. Kimberly-Clark Corp.,
      570 Fed. Appx. 927 (Fed. Cir. 2014)............................................................................................7

   Arctic Energy Servs., LLC v. Neal,
       No. 18-CV-00108-PAB, 2018 WL 1010939 (D. Colo. Feb. 22, 2018) ........................................18

   Bagby Elevator Co., Inc. v. Schindler Elevator Corp.,
      2009 WL 10703109 (N.D. Tex. Jan. 23, 2009) ...........................................................................44

   Bambu Sales v. Testini,
      1988 WL 138055 (E.D.N.Y. Dec. 21, 1988) ..............................................................................37

   BB&T Ins. Svcs., Inc. v. Thomas Rutherford, Inc.,
     No. CL09-4550, 2010 WL 7373709 (Va. Cir. Ct. Feb. 9, 2010) ..................................................27

   CreAgri, Inc. v. Usana Health Sciences, Inc.,
      474 F.3d 626 (9th Cir. 2007)............................................................................................... passim

   Dollar Rent A Car Sys., Inc. v. P.R.P. Enter., Inc.,
       2006 WL 1266515 (N.D. Okla. May 8, 2006)....................................................................... 30, 43

   Dream Team Collectibles, Inc. v. NBA Properties, Inc.,
      958 F. Supp. 1401 (E.D. Mo. 1997)...........................................................................................37

   Evra Pharm., Inc. v. American Cyanamid Co.,
      755 F. Supp. 36 (D.P.R. 1991)................................................................................. 36, 47, 48, 49

   FN Herstal SA v. Clyde Armory Inc.,
      838 F.3d 1071 (11th Cir. 2016) ...................................................................................... 46, 47, 49

   Fourth Corner Credit Union v. Fed. Reserve Bank of Kansas City,
      861 F.3d 1052 (10th Cir. 2017) (plurality opinion) .....................................................................46

   General Mills Inc. v. Health Valley Foods,
      24 U.S.P.Q.2d 1270 (T.T.A.B. 1992) .........................................................................................49




                                                                    iii
Case 4:17-cv-00454-GKF-JFJ                       Document 241 Filed in USDC ND/OK on 11/16/18                                         Page 5 of
                                                            59



   GoClear LLC v. Target Corp.,
      2009 WL 160624 (N.D. Cal. Jan 22, 2009).................................................................................36

   Haagen-Dazs, Inc. v. Frusen Gladje Ltd.,
      493 F. Supp. 73 (S.D.N.Y. 1980) ...............................................................................................42

   Intermountain Wind & Solar, LLC v. All American Exteriors, LLC,
        2017 WL 2999232 (D. Utah April 19, 2017) .......................................................................... 3, 31

   Johnson v. Yellow Cab Transit Co.,
       321 U.S. 383 (1944) ...................................................................................................................31

   Keystone Driller Co. v. General Excavator Co.,
       290 U.S. 245 (1933) ...................................................................................................................31

   Lasership, Inc. v. Watson,
      No. CL-2009-1219, 2009 WL 7388870 (Va. Cir. Ct. Aug. 12, 2009)...........................................27

   Lawn Managers, Inc. v. Progressive Lawn Managers, Inc.,
      2017 WL 3189486 (E.D. Mo. July 27, 2017) ........................................................................ 40, 42

   Learning Curve Toys, Inc. v. PlayWood Toys, Inc.,
      342 F.3d 714 (7th Cir. 2003)......................................................................................................19

   Los Angeles News Service v. Tullo,
       973 F.2d 791 (9th Cir. 1992)......................................................................................................11

   Metro Publishing, Ltd. v. San Jose Mercury News, Inc.,
      861 F. Supp. 870 (N.D. Cal. 1994)....................................................................................... 41, 42

   Microstrategy, Inc. v. Business Objects, S.A.,
       331 F. Supp. 2d 396 (E.D. Va. 2004) ................................................................................... 44, 45

   MicroStrategy, Inc. v. Li,
       601 S.E. 2d 580 (Va. 2004) .................................................................................................. 18, 25

   Modern Envts., Inc. v. Stinnett,
      561 S.E.2d 694 (Va. 2002) .........................................................................................................27

   Nalco Chemical Co. v. Hydro Tech., Inc.,
      148 F.R.D. 608 (E.D. Wis. 1993)...............................................................................................44

   On-Line Tech. v. Bodenseewek Perkin-Elmer,
      386 F.3d 1133 (Fed. Cir. 2004) ..................................................................................................22

   PartyLite Gifts, Inc. v. Swiss Colony Occasions,
       246 F. App’x 969 (6th Cir. 2007) ...............................................................................................28



                                                                        iv
Case 4:17-cv-00454-GKF-JFJ                       Document 241 Filed in USDC ND/OK on 11/16/18                                         Page 6 of
                                                            59



   Peace v. Conway,
       435 S.E.2d 133 (Va. 1993) .........................................................................................................28

   Phoenix Renovation Corp. v. Rodriguez,
      258 F. App’x 536.......................................................................................................................28

   POM Wonderful LLC v. Coca Cola Co.,
     166 F. Supp. 3d 1085 (C.D. Cal. 2016) .......................................................................... 29, 36, 38

   Precision Instrument Mfg. Co. v. Automotive Maintenance Machinery Co.,
       324 U.S. 806 (1945) ............................................................................................................. 30, 31

   ProductiveMD, LLC v. 4UMD, LLC,
       821 F. Supp. 2d 955 (M.D. Tenn. 2011) ....................................................................................28

   Purzel Video GmbH v. St. Pierre,
      10 F. Supp. 3d 1158 (D. Colo. 2014) .........................................................................................31

   Radiancy, Inc. v. Viatek Consumer Prods. Group, Inc.,
      138 F. Supp. 3d 303 (S.D.N.Y. 2014) ........................................................................................42

   Rainbow Play Sys., Inc. v. Backyard Adventure, Inc.,
      2009 WL 3150984 (D.S.D. Sept. 28, 2009) ................................................................................42

   SFF-TIR, LLC v. Stephenson,
      250 F. Supp. 3d 856 (N.D. Okla. 2017) .....................................................................................43

   Shondel v. McDermott,
      775 F.2d 859 (7th Cir. 1985)................................................................................................ 30, 32

   Southern California Darts Ass’n v. Zaffina,
       762 F.3d 921 (9th Cir. 2014)................................................................................................ 47, 48

   Space Systems/Loral, LLC v. Orbital ATK, Inc.,
       306 F. Supp. 3d 845 (E.D. Va. 2018) ................................................................................... 18, 25

   Trace Minerals Research, L.C. v. Mineral Res. Int’l, Inc.,
       505 F. Supp. 2d 1233 (D. Utah 2007) ........................................................................................31

   Trident Prods. & Svcs., LLC v. Canadain Soiless Wholesale, Ltd.,
       859 F. Supp. 2d 771 (E.D. Va. 2012), aff’d 505 F. App’x 242 (4th Cir. 2013)........................ 19, 22

   Two Pesos, Inc. v. Taco Cabana, Inc.,
      505 U.S. 763 (1992) (Stevens, J., concurring) .............................................................................41

   United Phosphorus, Ltd. v. Midland Fumigant, Inc.,
      205 F.3d 1219 (10th Cir. 2000) ............................................................................................ 35, 46



                                                                        v
Case 4:17-cv-00454-GKF-JFJ                         Document 241 Filed in USDC ND/OK on 11/16/18                                           Page 7 of
                                                              59



   Utah Lighthouse Ministry, Inc. v. Discovery Computing, Inc.,
      2005 WL 3263157 (D. Utah Dec. 1, 2005).................................................................................31

   Water Pik, Inc. v. Med-Systems, Inc.,
      726 F.3d 1136 (10th Cir. 2013) ..................................................................................................41

   Worthington v. Anderson,
      386 F.3d 1314 (10th Cir. 2004) ...................................................................................... 30, 31, 38

   Youngs Rubber Corp. v. C.I. Lee & Co.,
      45 F.2d 103 (2d Cir. 1930).........................................................................................................36

   Zurco, Inc. v. Sloan Valve Co.,
       785 F. Supp. 2d 476 (W.D. Pa. 2011).........................................................................................39

                                                                   STATUTES

   U.S.C. § 1117(a)...............................................................................................................................37

   25 U.S.C. § 2702(2)..........................................................................................................................35

   25 U.S.C. § 2706(b)(10) ...................................................................................................................34

                                                          OTHER A UTHORITIES

   25 C.F.R. 547 ............................................................................................................................ passim

   Fed. R. Civ. P. 8(c) ..........................................................................................................................45

   Fed. R. Civ. P. 15(a)(3) ....................................................................................................................45

   Fed. R. Civ. P. 30(b)(6).................................................................................................................. 2, 5




                                                                          vi
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                     Page 8 of
                                                 59



   I.      INTRODUCTION

           Through its motion, VGT seeks partial summary judgment on VGT’s claims that Castle Hill

   misappropriated VGT’s                                       , and Castle Hill’s affirmative defenses of

   unclean hands and illegality. Castle Hill has also moved for summary judgment on VGT’s

                         claims. Contrary to VGT’s arguments, the undisputed facts prove that the

   algorithm is not a trade secret and it has not been misappropriated by Castle Hill. VGT is not entitled

   to summary judgment on its trade secret claim for at least three independent reasons. First, the

   algorithm is not a secret at all; instead, it is a common sense implementation of widely known

   programming techniques, utilizing publicly available source code found on the internet. Second,

   even if the algorithm were secret to begin with (it is not), it is a secret no longer, as VGT has

   disclosed it to third parties without confidentiality obligations. Finally, Castle Hill has never used its

   version of the allegedly similar algorithm in a single game in the field, has no plans to ever do so,

   and the only third party who received a copy of Castle Hill’s algorithm, BMM Testlabs, has

   confidentiality agreements with both VGT and Castle Hill.

           With respect to Castle Hill’s defenses, VGT accuses Castle Hill of using these defenses to

   “throw mud” at VGT. It is VGT’s hands, however, which are dirty, and it is telling that VGT did

   not submit a statement of undisputed material facts in support of its motion relative to these

   defenses. The undisputed evidence of record demonstrates that (1)

                                                             s and therefore could not have created any

   trademark, trade dress, or trade secret rights; (2)

                                                                                          and (3) VGT has

   changed its games during the course of this litigation to be more like Castle Hill’s games, and has

   made other changes to its games which may increase the likelihood of alleged confusion. VGT’s

   motion for partial summary judgment should be denied.


                                                         1
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                    Page 9 of
                                                 59



   II.     STATEMENT OF DISPUTED MATERIAL FACTS

           Paragraphs 1-57 below correspond to and dispute the factual averments set forth in the same

   respectively numbered paragraphs in VGT’s Statement of Material Facts Not in Dispute in its

   motion for partial summary judgment. See Doc. 179, ¶¶ 1-57. These disputed facts relate only to

   facts VGT proffers, and have no bearing on Castle Hill’s Motion for Summary Judgment or the

   factual statement provided in support of that Motion. Castle Hill maintains that there are no genuine

   issues of material fact with respect to its motion for summary judgment.

           In addition, Castle Hill notes that VGT’s Statement relies heavily on the declarations of

   VGT employee Josh Davis and one of VGT’s proffered experts, Stacy Friedman. Concurrently

   herewith, Castle Hill is filing a motion to strike both of those declarations. Castle Hill also previously

   filed a Daubert Motion to Exclude Plaintiff’s Expert Stacy Friedman (Dkt. 172). For all of the

   reasons set forth in those motions, which are incorporated herein by reference, the declarations of

   Messrs. Davis and Friedman are improper and should not be considered in connection with VGT’s

   motion.

           With respect to the numbered paragraphs of VGT’s Statement of Facts, Castle Hill responds

   as follows:

           1.      Undisputed.

           2.      Disputed. During his Rule 30(b)(6) testimony, when asked who wrote the code for

   VGT’s                                    , Mr. Davis testified that

         ” Ex. 1, Davis Dep. at 76:2-9. 1 Later, Mr. Davis stated that the original code was implemented



                                                                                    . Id. at 156:19-157:9.


   1
            All references to exhibits herein refer to the exhibits attached to the Declaration of Robert
   C. Gill, filed herewith.

                                                       2
Case 4:17-cv-00454-GKF-JFJ           Document 241 Filed in USDC ND/OK on 11/16/18                     Page 10
                                               of 59



  Likewise, in its responses to Castle Hill’s interrogatories, VGT did not identify “multiple engineers”

  or provide any factual support for its contention that its algorithm required “multiple years” to

  develop. See Ex. 2 at 123-55 (VGT’s explanation of the basis for its trade secret claim).

         3.      Undisputed.

         4.      Undisputed.

         5.      Undisputed.

         6.      Disputed. The algorithm is not “contained” in a source code repository; source code

  implementing the algorithm is contained in the source code repository, not the algorithm itself.

         7.      Undisputed only as to Exhibits C and D attached to VGT’s motion. VGT’s citation

  to these two documents does not demonstrate that all such documents are so designated.

         8.      Disputed. VGT provides copies of manuals,

                                  , to casino operators. Ex. 3, McGill Dep. at 125:12-18; 126:4-6.




         9.      Disputed.




                                         .

         10.     Undisputed that VGT has disclosed the                                        to testing

  laboratories, including               , and that those testing laboratories undertake confidentiality

  obligations with respect to the submissions they receive from gaming companies. See Ex. 8,

  Williamson Dep. at 17:5-18:8


                                                     3
Case 4:17-cv-00454-GKF-JFJ           Document 241 Filed in USDC ND/OK on 11/16/18                     Page 11
                                               of 59




                            ). Castle Hill disputes VGT’s contention that it has only disclosed the

  algorithm to persons subject to confidentiality obligations. See Response to ¶ 9.

         11.     Undisputed.

         12.     Disputed.



         13.     Disputed.



         14.     Disputed. Mr. Davis testified that VGT did not invent or create the




         15.     Undisputed.

         16.     Disputed. In his expert report and during his deposition, Castle Hill expert Robert

  Zeidman cited multiple examples of slot and gaming companies, including bingo slot companies,


                                                     4
Case 4:17-cv-00454-GKF-JFJ          Document 241 Filed in USDC ND/OK on 11/16/18                  Page 12
                                              of 59



  referring to use of                                                                      . See Ex. 12,

  Zeidman Dep. at 176:18-192:19; Exs. 13-17 (Exhibits D, E, F, G, H to Zeidman expert report).




                                           . Ex. 12, Zeidman Dep. at 258:10-259:13.

          17.     Disputed. As Mr. Roireau explained during his Rule 30(b)(6) testimony,




          18.     Disputed.




  2
          In paragraphs 17-22, VGT describes the “public disclosures that CHG has cited.” Castle Hill
  never claimed that the examples given of public online information about
  were exhaustive. VGT as the plaintiff has the burden of demonstrating that its alleged trade secret is
  indeed a trade secret. It is not Castle Hill’s burden to disprove VGT’s conclusory and
  unsubstantiated allegations that its algorithm is secret.

                                                    5
Case 4:17-cv-00454-GKF-JFJ           Document 241 Filed in USDC ND/OK on 11/16/18                      Page 13
                                               of 59




          19.     Disputed.



                                                                           . See, e.g., Ex. 18, Generalized

  System With Individualized Centrally Generated Random Number Generator Seeds, U.S. Patent

  No. 6,533,664 (“batches, pools or lists of seeds are generated”; “With a known starting seed, the

  terminal’s internal random number generator will arrive at the correct reel stop . . . [t]his same

  general procedure can be used in other games[.]”); Ex. 19, Gaming System and Process for

  Generating Card Faces, U.S. Patent No. 5,588,913 (

  “developing a seed list in a memory of the main station, transferring at least a portion of the seed list

  to a plurality of remote devices, and creating, at the remote devices, gaming card arrays utilizing a

  pseudo-random number generator seeded by the transferred portion of the seed list.”); Ex. 20,

  Method and System for Storing Preselected Numbers for Use in Games of Bingo, U.S. Patent No.

  6,656,045 (“Each Bingo card is associated with a serial number which identifies the particular Bingo

  card uniquely so that each Bingo card can be retrieved from the memory by entry into the memory

  of the serial number.”); Ex. 21, U.S. Patent Application No. 2005/0059469 (

        “generated using one or more RNG (random number generating) seeds, each of which will

  provide a known outcome . . . [e]ach of the RNG seeds has been precalculated to produce a




                                                      6
Case 4:17-cv-00454-GKF-JFJ             Document 241 Filed in USDC ND/OK on 11/16/18                   Page 14
                                                 of 59



  predetermined outcome when processed by a pre-programmed “deterministic RNG.”). 3

         20.        Disputed. See Response to SOF ¶ 19.

         21.        Disputed. See Response to SOF ¶ 19.

         22.        Disputed. See Response to SOF ¶ 19.

         23.        Undisputed.

         24.        Castle Hill objects to VGT’s hypothetical statement that its algorithm could be

  “useful” as a statement of opinion; not fact. Castle Hill does not dispute that VGT’s algorithm has

  been accepted by certain testing labs as compliant with certain regulatory requirements. Castle Hill

  states further that it has complied with regulatory requirements through the use of a completely

  different approach to




          .

         25.        Undisputed that



         26.        Disputed.



         27.        Disputed. Despite what he now says in his declaration, Mr. Friedman testified at

  deposition that

                                      ” Ex. 11, Friedman Dep. at 121:1-3; 121:22-122:1.




  3
          The Court may properly take judicial notice of the patents and patent applications cited
  herein. See Anderson v. Kimberly-Clark Corp., 570 Fed. Appx. 927, 932 n.3 (Fed. Cir. 2014).
                                                      7
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                  Page 15
                                                of 59




                  Ex. 12, Zeidman Dep. at 243:12-244:12.

        28.        Undisputed.

        29.        Undisputed.

        30.        Undisputed,

                                                . Ex. 10, Suggs Dep. at 224:4-225:17.

        31.        Undisputed.

        32.        Disputed. Mr. Suggs explained that he



                                                               Ex. 10, Suggs Dep. at 226:4-227:4.




              .

        33.        Undisputed.

        34.        Undisputed.

        35.        Undisputed.

        36.        Undisputed.

        37.        Undisputed.

        38.        Undisputed.

        39.        Undisputed.

        40.        Undisputed.

        41.        Undisputed, subject to the clarification that


                                                      8
Case 4:17-cv-00454-GKF-JFJ           Document 241 Filed in USDC ND/OK on 11/16/18                    Page 16
                                               of 59




                    .

         42.     Undisputed; again, this is how                                      work.

         43.     Undisputed.

         44.     Undisputed.

         45.     Disputed.

                               . See Ex. 12, Zeidman Dep. 232:16-233:22, 234:22-240:20.

                                                                                                at

  257:13-21.

         46.     Undisputed, subject to the further clarification that



                                                                                                . Ex. 9,

  Roireau 30(b)(6) Dep. at 77:2-79:16; Ex. 23, Roireau 30(b)(1) Dep. at 299:23-300:9 (

                              ).

         47.     Undisputed, subject to the further clarification that




                                    .

         48.     Undisputed that VGT required some of its employees to sign employee agreements

  containing confidentiality provisions; Castle Hill disputes that the deposition citation VGT relies on

  demonstrates that “[a]ll VGT employees” actually signed such agreements.


                                                    9
Case 4:17-cv-00454-GKF-JFJ          Document 241 Filed in USDC ND/OK on 11/16/18             Page 17
                                              of 59



         49.     Undisputed.

         50.     Undisputed.

         51.     Disputed.




                                                                                             Ex.

  10, Suggs. Dep. at 39:21-40:4.

         52.     Disputed. VGT has mischaracterized Mr. Suggs’ statement.



                                                    See Ex. 24.

         53.     Disputed.




         54.     Undisputed, subject to the further clarification that




         55.     Undisputed.

         56.     Undisputed. Mr. Roireau further explained that

                                                 Ex. 23, Roireau Dep. 30(b)(1) at 295:2-5.


                                                   10
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                     Page 18
                                                of 59



          57.     Undisputed, subject to clarification that




  III.    STATEMENT OF UNDISPUTED MATERIAL FACTS 4

          A.      VGT’s Games are Non-Compliant and Largely Illegal

          58.




                                       .

          59.     A Class II gaming system is eligible for “grandfather status,” 5 meaning noncompliant

  but legal to use, if, inter alia, it was in use on or before November 10, 2008, or it if was manufactured

  before that date. “Manufactured,” in this context, means “off the assembly line and ready to use.”

  See Ex. 28, NIGC Bulletin No. 2008-3, “Compliance Guidance for New Technical Standards, 25

  C.F.R. part 547” at 5. 6

          60.

  4
          Paragraphs 58-78 in Castle Hill’s Statement of Undisputed Material Facts set forth
  undisputed material facts relative to the portion of VGT’s motion for partial summary judgment
  seeking to dismiss Castle Hill’s affirmative defenses of unclean hands and illegality. VGT did not
  assert any undisputed material facts for this portion of its motion, claiming those issues could be
  decided “purely as a matter of law.” See Doc. 179, p.2, n.1. Castle Hill disagrees. See, e.g., Los Angeles
  News Service v. Tullo, 973 F.2d 791, 799 (9th Cir. 1992) (“The application of the unclean hands
  doctrine raises primarily a question of fact.”) (internal citation omitted).
  5
           The NIGC regulations governing Class II games provide that any “gaming system”
  manufactured after November 10, 2008 must comply with the minimum technical standards in order
  to legally operate. See 25 C.F.R. § 547.5(b). The NIGC included a “grandfathering” provision for
  older gaming systems, which provided that gaming systems “manufactured” before November 10,
  2008 which are not compliant with 25 C.F.R. 547.5(b) could continue to be used if certain other
  conditions were met. See 25 C.F.R. § 547.5(a).
  6
           This formal NIGC Guidance is available at https://www.nigc.gov/compliance/bulletins
  (last viewed November 15, 2018).
                                                      11
Case 4:17-cv-00454-GKF-JFJ           Document 241 Filed in USDC ND/OK on 11/16/18                   Page 19
                                               of 59




                                                                           See Ex. 28, Williamson 30(b)(6)

  Dep. at 57-63; Ex. 29.

         61.



                                                                  See Ex. 28, Williamson 30(b)(6) Dep.

  at 52-55.

         62.     The “grandfathering” provision of the NIGC Regulations was “Intended to ‘Freeze’

  the amount of player interfaces that can be used in the field with grandfathered Class II Gaming

  Systems.” See Ex. 28, Williamson 30(b)(6) at 68:21-25; Ex. 31 at p. 6.

         63.




         64.




         B.      VGT’s “Trade Dress” is Misappropriated and Copied

         65.     A



                      See Ex. 32, North Dep. at 111-13; Ex. 33.




                                                    12
Case 4:17-cv-00454-GKF-JFJ           Document 241 Filed in USDC ND/OK on 11/16/18                   Page 20
                                               of 59




         66.



                                                                                           See Ex. 37,

  Sevigny Dep. at 182-87; Ex. 1, Davis 30(b)(6) at 66-68, 104.



                                    See Ex. 37, Sevigny Dep. at 198-99; 225-26; Ex. 1, Davis 30(b)(6)

  Dep. at 66-68.



                                See Ex. 37, Sevigny Dep. at 182-89; Ex. 38, Sevigny Dep. Ex. 126.

         67.




         68.       VGT has a product strategy based on using industry-standard themes. See Ex. 4, Starr


                                                    13
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                 Page 21
                                                of 59



  Dep. at 168; Ex. 44, North Ex. 10




         69.     VGT uses the same game cabinet as other Class II game manufacturers. See Ex. 4,

  Starr Dep. at 35. One of these other Class II game manufacturers, Cadillac Jack, and a game called

  Pot of Gold made by U.S. Coin, used the original Spec International cabinet which was the same as

  VGT’s original cabinet. See Ex. 3, McGill Dep. at 54-55; Ex. 36, Sprinkle Dep. at 179-80. Pot of

  Gold used the round top cabinet before VGT’s original cabinet was in use in 2001. See Ex. 43,

  Yarbrough Dep. at 73. Cadillac Jack was using the same gaming cabinets as VGT, “…close to the

  same time VGT – VGT did whenever they started, because it looks exactly the same as far as the

  cabinet.” See Ex. 4, Starr Dep. at 35-36. Other Class II game manufacturers, including Nova

  Gaming, AGS, and possibly Eclipse Gaming, were also using the same game cabinet as VGT. See

  Ex. 4, Starr Dep. at 35-37; Ex. 36, Sprinkle Dep. pp. 179-80; see also Ex. 45, Harvie Dep. at 53-54;

  Ex. 46, Graham Dep. at 60-62; (Cadillac Jack, Bally, Williams, IGT, and Nova have all had similar

  cabinets).

         70.     VGT did not invent the bingo patterns it uses. See Ex. 43, Yarbrough Dep. at 96-97.

  VGT’s bingo patterns for its Class II games are historic standard or classic patterns and are available

  on the internet – whether using the same name or different names – including VGT’s game-ending

  win, which it calls a “Cover-All”, as well as at least the following other bingo patterns: VGT’s “Kite”

  pattern; VGT’s “Private Stripes” pattern; VGT’s “L” pattern; VGT’s “Small Pyramid” pattern;

  VGT’s “Tee” pattern; VGT’s “Double Postage Stamp” pattern; VGT’s “Outside Corners” pattern;

  VGT’s “Inside Corners” pattern; VGT’s “Open Diamond” pattern; VGT’s “X” pattern; VGT’s

  “Lucky Seven” pattern; VGT’s “Postage Stamp” pattern; VGT’s “Six-Pack”; VGT’s Small

  Diamond”; and VGT’s Cross-Corners. See Ex. 32, North Dep. at 114-118; Ex. 47, North Dep. Ex.


                                                    14
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                    Page 22
                                                of 59



  17. Other companies in the Class II industry, including IGT, use similar bingo patterns on their

  Class II games. See Ex. 32, North Dep. at 120-21.

          71.     VGT sends employees to industry conferences to look at and follow market trends

  to emulate and include new features in future products, including software, cabinets, lighting, and

  signage. See Ex. 4, Starr Dep. at 209-10; Ex. 48; Ex. 34, Carlson Dep. at 40-43.

          72.



  See Ex. 45, Harvie Dep. at 155-58; Ex. 49, Harvie Dep. Ex. 117.

          C.      VGT’s Changes to “Trade Dress” Increases Alleged Likelihood of Confusion

          73.     VGT has recently changed its red screen free spins feature to be more similar to

  Castle Hill’s instant free pay feature. Castle Hill’s instant free pay feature plays a video where the

  instant free pay logo is displayed. The instant free pay logo is orange and white. The screen where

  the instant free pay logo is displayed is red. See Ex. 50, Sisson Dep. at 225-27. The reels also turn red

  during the instant free pay feature, unlike VGT’s reels, which did not turn red during the VGT red

  screen free spins feature at least as of July 12, 2018, when VGT’s President was deposed. Id.; see also

  Ex. 37, Sevigny Dep. at 201.

          74.     VGT’s red screen free spins feature is a game play feature where VGT’s screen

  displays a red tint. See Ex. 37, Sevigny Dep. at 80-81. As of July 12, 2018, when VGT’s President was

  deposed, unlike CHG’s instant free pay bonus feature, the reels on the VGT EGMs




          75.     VGT has subsequently changed its red screen free spins feature. The feature no

  longer displays a red tint or film on the screen, and instead plays a movie with persistent text like


                                                      15
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                 Page 23
                                                of 59



  Castle Hill’s instant free pay. See Ex. 51, Fulton Decl., ¶ 3.

          76.     VGT also added reels which turn red to its red screen free spins feature, another

  implementation which Castle Hill previously had in its instant free pay feature. See Ex. 51, Fulton

  Decl., ¶ 4; Ex. 1, Davis 30(b)(6) at 132-33.

          77.     VGT has recently changed its “bingo play and pay” implementations to make its

  games more similar to Castle Hill’s games. See Ex. 51, Fulton Decl., ¶ 5




          78.     On some games, VGT has replaced its house mark on its cabinets with Aristocrat

  marks, leaving only a single VGT house mark on the top screen. See Ex. 51, Fulton Decl., ¶ 8.

  IV.     VGT IS NOT ENTITLED TO JUDGMENT ON ITS TRADE SECRET CLAIMS

          Like so many of its claims in this action, VGT’s claims of trade secret misappropriation have

  remained ambiguous throughout discovery and narrowed over time as VGT realized it could not

  support the allegations in its original Complaint. When VGT filed this case it alleged that it owned

  trade secrets relating to, among other things, its source code. Without any actual evidence, and on

  information and belief, VGT alleged that Castle Hill had misappropriated its source code and other

  trade secrets. Complaint (Dkt. 2) at ¶¶ 93, 97. VGT even filed an early motion to compel seeking a

  production of Castle Hill’s source code. When VGT examined that source code, it quickly realized

  that its “information and belief” was plainly incorrect. Castle Hill did not misappropriate or

  otherwise copy VGT source code. This is undisputed. Despite this realization, at the time it filed its


                                                      16
Case 4:17-cv-00454-GKF-JFJ              Document 241 Filed in USDC ND/OK on 11/16/18                 Page 24
                                                  of 59



  Amended Complaint, VGT continued to allege “on information and belief” that Castle Hill

  misappropriated its source code. Amended Complaint (Dkt. 103) at ¶¶ 93, 100, 147, 157. 7

          Consistent with its failure to properly define its claims in its Amended Complaint, VGT’s

  interrogatory responses likewise took a “see what sticks” approach to its trade secrets claim,

  identifying a list of 37 alleged “secrets” during discovery. It was only after VGT served expert

  reports that it made clear that it was abandoning nearly all of its allegations about what Castle Hill

  supposedly misappropriated. Despite identifying 37 alleged secrets and claiming that Castle Hill stole

  source code, VGT has now admitted that it has no such evidence. Rather, it bases its trade secrets

  misappropriation claim on the use of

                                            . VGT does not allege that Castle Hill “stole” anything

  directly from VGT setting forth the algorithm or that any prior VGT employee working for Castle

  Hill took anything with them at the time they left VGT that included the

            . Rather, it alleges that Paul Suggs remembered that he had used

                                                                                                   and

  that the use of that idea                                                                        is trade

  secret misappropriation. It is not.

          Further, Castle Hill has never even deployed this algorithm in the field and never received

  regulatory approval for it (and in fact, withdrew its request for approval from        ). VGT’s entire

  complaint regarding the


  7
           Notably, and despite what it still alleges in the Amended Complaint, VGT now concedes
  that it does not contend that Castle Hill misappropriated VGT source code. VGT has gone so far
  as to move to exclude Castle Hill’s technical expert’s opinions regarding source code copying
  because
                                See VGT Motion to Exclude Robert Zeidman in Part (Dkt. 166) at 1.
  This is a remarkable admission in light of what VGT’s Amended Complaint actually alleges, and is
  but one of so many examples of VGT maintaining broad and unsubstantiated allegations throughout
  discovery and then narrowed at the eleventh hour.

                                                     17
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                      Page 25
                                                of 59




                                                                                            . At its core,

  VGT’s arguments regarding                                            is an attempt to save face for

  having filed a baseless trade secret claim on “information and belief.”

          For all of the reasons set forth in Castle Hill’s Motion for Summary Judgment, the alleged

  “trade secret” is not one at all, because VGT uses a common algorithm in an application that is not

  unique or secret. It is an obvious application of a well-known solution. Under both the Virginia

  Uniform Trade Secrets Act (“VUTSA”) and Defend Trade Secrets Act (“DTSA”), VGT must prove

  both the existence of a trade secret and misappropriation by Castle Hill. See Arctic Energy Servs., LLC

  v. Neal, No. 18-CV-00108-PAB, 2018 WL 1010939, at *2 (D. Colo. Feb. 22, 2018) (listing elements

  of Defend Trade Secrets Act claim); Space Systems/Loral, LLC v. Orbital ATK, Inc., 306 F. Supp. 3d

  845, 855 (E.D. Va. 2018) (VUTSA elements). 8 The analysis of the elements is similar under either

  statute, but here, VGT cannot meet its burden to establish a lack of disputed facts with respect to

  either element. Indeed, while Castle Hill contends that it is entitled to summary judgment on VGT’s

  trade secrets claims, at a minimum there are disputed factual issues that demonstrate that VGT’s

  motion must be denied.

          A.      VGT’s Allegation That its                          is a Trade Secret
                  Raises Questions of Fact Which Should Not Be Resolved on Summary
                  Judgment

          The determination of whether a trade secret exists presents questions of fact to be

  determined by the fact finder from the greater weight of the evidence. See, e.g., MicroStrategy, Inc. v. Li,

  601 S.E. 2d 580, 589 (Va. 2004) (interpreting Virginia Uniform Trade Secrets Act and concluding


  8
         VGT’s original Complaint alleged trade secret misappropriation under the Oklahoma
  Uniform Trade Secrets Act (“OUTSA”). VGT is not alleging an OUTSA violation with respect to
  the                               because Castle Hill has never used that algorithm in commerce
  in Oklahoma, or anywhere else.

                                                      18
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                      Page 26
                                                of 59



  that question of whether information “constitutes a trade secret ordinarily is best ‘resolved by a fact

  finder after full presentation of evidence from each side.’”) (quoting Learning Curve Toys, Inc. v.

  PlayWood Toys, Inc., 342 F.3d 714, 723 (7th Cir. 2003)). To meet the definition of a trade secret, VGT

  must demonstrate that its                                    : 1) has independent economic value; 2)

  has been subject to reasonable efforts to maintain its secrecy; and 3) is not known or readily

  ascertainable by proper means. See Trident Prods. & Svcs., LLC v. Canadain Soiless Wholesale, Ltd., 859

  F. Supp. 2d 771, 778 (E.D. Va. 2012), aff’d 505 F. App’x 242 (4th Cir. 2013) (summary judgment

  granted for defendant where plaintiff failed to establish its alleged secret was not readily

  ascertainable). Here, VGT cannot meet its burden with respect to any of the three elements.

  Accordingly, its motion for summary judgment should be denied.

                  i.      The Alleged Trade Secret Lacks Independent Economic Value

          VGT offers little in the way of facts to supports its conclusory allegation that its

                        is independently valuable. In support of its argument, VGT states that it is

                                                                                                          ,

                                                  .” VGT Mot. at 39. VGT’s argument is wrong: Castle

  Hill did not                                                              The algorithm that Castle Hill

  developed and actually uses in commerce is a completely different algorithm. See Castle Hill’s

  Statement of Disputed Material Facts (“SOF”) ¶ 24. The only other source of “economic value”

  VGT points to is its allegation that

                                                                           But despite this allegation,



                                                                                             .




                                                      19
Case 4:17-cv-00454-GKF-JFJ                 Document 241 Filed in USDC ND/OK on 11/16/18                               Page 27
                                                     of 59



                                                                  VGT has not met its burden to demonstrate its

  alleged trade secret is independently valuable.

                    ii.       VGT Has Not Taken Reasonable Measures to Protect its Alleged
                              Trade Secret

           In an attempt to demonstrate that it took reasonable measures to keep



                                                                                 . Importantly, however, VGT does

  not allege that Castle Hill misappropriated, stole, or copied its source code or the source code implementing the

  algorithm. See Response to SOF ¶ 6. Rather, VGT alleges that Castle Hill has misappropriated the idea

  of

                            . As Mr. Suggs explained, nobody at VGT ever told him that

                            was a trade secret. Ex. 10, Suggs Dep. at 56:12-20. In fact, Mr. Suggs did not

  consider VGT’s                                              to be a trade secret at all, because



                                              . VGT did not inform or instruct its engineers that all of their

  work was “trade secrets.”

           The ambiguity of VGT’s alleged trade secrets is demonstrated by the overbreadth of the

  confidentiality provision of Mr. Suggs’ Employee Agreement. That agreement defines




                                                                                          Ex. 52.




                                                             20
Case 4:17-cv-00454-GKF-JFJ           Document 241 Filed in USDC ND/OK on 11/16/18                    Page 28
                                               of 59




         Ex. 10, Suggs. Dep. at 78:22-25, 79:6-14.

          Further, there is a disputed issue of fact regarding the documents VGT has distributed

  which set forth and describe its                                  .



                                                                        The self-serving affidavit of Josh

  Davis cannot contradict the documents it produced in discovery and the sworn testimony of other

  witnesses demonstrating that VGT has revealed its alleged trade secret algorithm to third parties.

                  iii.     VGT’s Algorithm is Not a Trade Secret Because it is Readily
                           Ascertainable and Publicly Known

          VGT argues that its

                                                      e. To support this argument, VGT points to the

  opinion of its expert Stacy Friedman and to its allegation that Castle Hill has “failed to produce

  evidence showing that VGT’s algorithm is generally known.” VGT Mot. at 37. While Mr. Friedman

  indeed opines that VGT’s algorithm is not generally known, his opinion is unreliable and lacks

  credibility given his admission that he did not even attempt to research whether or not other gaming

  companies use a similar approach to VGT for                             . Ex. 11, Friedman Dep. at

  134:20-135:8, 359:8-16.

          On the other hand, Castle Hill’s expert opined that none of the items VGT has identified as

  trade secrets, including its                                , meet the definition of a trade secret. Ex.

  12, Zeidman Dep. at 80:16-18. In support of this opinion, Mr. Zeidman identified several instances



                                                     21
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                    Page 29
                                                of 59



  of publicly available information regarding the

                                                                      :

          •




  Mr. Zeidman further pointed out that source code for                                        is readily

  available online, including in open sources such as GitHub. Ex. 17. And Mr. Zeidman’s review of

  Castle Hill source code revealed that Castle Hill used third-party publically available code to create

                                                r. SOF ¶ 16. Further, the functionality VGT alleges is

  part of its “trade secret” is generally known and has been published in publicly available patents and

  patent applications. See SOF ¶ 19. Information available in patents and patent applications does not

  qualify as trade secrets. See, e.g., On-Line Tech. v. Bodenseewek Perkin-Elmer, 386 F.3d 1133, 1141 (Fed.

  Cir. 2004) (after patent issued, information therein is not protectable as trade secret because it is

  “reasonably accessible to competitors”). The foregoing citations are sufficient to, at a minimum,

  create a question of fact regarding whether or not VGT’s alleged secret algorithm is readily

  ascertainable through proper means. See Trident Prods., 859 F. Supp. 2d at 779 (“what constitutes

  readily ascertainable through proper means is heavily fact-dependent and simply boils down to

                                                      22
Case 4:17-cv-00454-GKF-JFJ           Document 241 Filed in USDC ND/OK on 11/16/18                      Page 30
                                               of 59



  assessing the ease with which a trade secret could have been independently discovered”) (internal

  quotation omitted).

          Witnesses for both parties admit that VGT’s use of a

                                               , does not qualify as a trade secret. SOF ¶¶ 14, 16, 17, 18.

  In




          Recognizing that the specific steps its algorithm undertakes are readily known, VGT next

  attempts to argue that it is the “secret combination” of the steps it undertakes that elevates its

  implementation of the                                          to a protectable “trade secret”. See

  VGT Mot. at 38. But VGT’s assertion, which it supports with nothing more than its own conclusory

  arguments, is rebutted by Mr. Suggs’ testimony that




  9




                                                     23
Case 4:17-cv-00454-GKF-JFJ          Document 241 Filed in USDC ND/OK on 11/16/18                   Page 31
                                              of 59




  Ex. 10, Suggs. Dep. at 52:10-53:3, 53:8-54:7 (emphasis added). Mr. Suggs’ testimony is further

  bolstered by Castle Hill’s technical expert, who explained that

                                                                                            . Ex. 12,

  Zeidman Dep. at 197:23-25, 232:9-15                                                    ). Mr.

  Zeidman went on to explain that using




                                                    24
Case 4:17-cv-00454-GKF-JFJ           Document 241 Filed in USDC ND/OK on 11/16/18                     Page 32
                                               of 59



          For all of the foregoing reasons, and for those set forth in Castle Hill’s Motion for Summary

  Judgment, the undisputed facts demonstrate that VGT’s alleged trade secret algorithm relating to

                         does not qualify as a trade secret at all. It is an obvious application of a well-

  known public algorithm that VGT did not independently develop or design. See Ex. 1, Davis Dep. at

  75:9-76:1 (

           . VGT has not met its burden to demonstrate that its use of

                                                                 is a trade secret. At a minimum there are

  disputed facts on this point that require denial of VGT’s motion for partial summary judgment. 10

          B.      VGT Cannot Meet its Burden to Demonstrate Misappropriation

          Like the existence of a trade secret, the issue of whether a secret has been misappropriated is

  “uniquely factual in nature.” MicroStrategy, 601 S.E.2d at 589. To satisfy this element, VGT must

  prove that Castle Hill acquired, disclosed, or used its trade secret without its consent, and that Castle

  Hill knew that its use of the trade secret was improper. See Space Systems/Loral, LLC v. Orbital ATK,

  Inc., 306 F. Supp. 3d 845, 854 (E.D. Va. 2018). Even if VGT could demonstrate that its

                        was a trade secret, which it cannot, it still cannot meet its burden to show that

  Castle Hill misappropriated the algorithm.

                  i.      The Two Algorithms Contain Significant Differences

          First, Castle Hill’s technical expert identified several key differences between VGT’s



                                                  . See Ex. 12, Zeidman Dep. at 219:12-220:22. VGT

  attempts to undercut Mr. Zeidman’s opinions through the declaration of its own expert. See VGT


  10
          Moreover, Castle Hill has moved to strike the declarations of both Joshua Davis and Stacy
  Friedman. Without those declarations, upon which VGT relies extensively throughout its motion,
  VGT is plainly not entitled to summary judgment because it cannot demonstrate the facts upon
  which its motion is based.

                                                     25
Case 4:17-cv-00454-GKF-JFJ           Document 241 Filed in USDC ND/OK on 11/16/18                   Page 33
                                               of 59



  Mot. at 43. All this does, however, is demonstrate that the two experts have differing opinions

  regarding the significance of the noted differences between the two algorithms. This creates a triable

  question of fact that requires the fact-finder to hear testimony from both parties’ experts.

                 ii.     VGT Cannot Prove Castle Hill “Knew” the Algorithm Was a VGT
                         Trade Secret

         Second, VGT cannot demonstrate that Castle Hill knew or should have known that its

  development of                                                                           was an

  acquisition of a VGT trade secret. In an attempt to prove misappropriation, VGT states that




                                                                                 This is hardly proof of

  knowledge by Castle Hill that Mr. Suggs had “stolen” the algorithm from VGT. To the contrary, it

  demonstrates that Castle Hill making independent decisions regarding the proper implementation.

                 iii.    The Confidentiality Provision of Mr. Suggs’ Employee Agreement
                         With VGT is Overly Broad and Unenforceable as a Matter of Law

         Throughout its motion, VGT points to Mr. Suggs’ Employee Agreement both as evidence

  of the alleged “reasonable measures” it took to protect its purported trade secrets, and as a source of


                                                    26
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                      Page 34
                                                of 59



  Mr. Suggs’ obligation to hold VGT information in confidence. As set forth above, the Agreement is

  overly broad and does not properly define the information which it seeks to protect. Furthermore,

  the Agreement is not limited in time or scope. See Ex. 52 ¶ 4 (

                                                                                          ).

          Restrictive covenants on trade are disfavored under Virginia law, “will be strictly construed,

  and, in the event of an ambiguity, will be construed in favor of the employee.” Modern Envts., Inc. v.

  Stinnett, 561 S.E.2d 694, 695 (Va. 2002). 11 Post-employment restrictions are only enforceable if they

  are: 1) narrowly tailored to protect a legitimate business interest; 2) not unduly harsh and oppressive

  in curtailing the employee’s ability to earn a living; and 3) not against sound public policy. See

  Lasership, Inc. v. Watson, No. CL-2009-1219, 2009 WL 7388870, at *4 (Va. Cir. Ct. Aug. 12, 2009).

          Confidentiality agreements are considered disfavored restraints on trade in Virginia. Id. at *8.

  Courts applying Virginia law further routinely hold confidentiality provisions with indefinite terms to

  be unenforceable. See id. at *8 (confidentiality provision in employment agreement overbroad where

  it precluded nearly all information concerning former employer in perpetuity); BB&T Ins. Svcs., Inc. v.

  Thomas Rutherford, Inc., No. CL09-4550, 2010 WL 7373709, at *5 (Va. Cir. Ct. Feb. 9, 2010) (because

  confidentiality clause had indefinite duration, it was unenforceable as a matter of law).

          Here, Mr. Suggs’ Employee Agreement contains a non-compete provision, see Ex. 52 ¶10, a

  requirement that Mr. Suggs return all Proprietary Information to VGT upon the termination of his

  employment, see id. ¶ 4, and a confidentiality provision that purports to restrict Mr. Suggs from

  revealing                                                         in perpetuity. See id. ¶ 4 (restriction

  11
         Mr. Suggs’ Employee Agreement does not contain a choice of law provision; however, Mr.
  Suggs worked for VGT in Virginia and his Employee Agreement makes reference to the Virginia
  Code. See Ex. 52, ¶ 14. Mr. Suggs moved to Chicago to work for WMS Gaming after leaving VGT
  in 2011. He began working with Castle Hill in 2015 – four years later. Ex. 10, Suggs. Dep. at 10:20-
  11:2. Accordingly, the Court should look to Virginia law to assess the interpret the obligations Mr.
  Suggs owes as a former employee of VGT pursuant to the Employee Agreement.


                                                     27
Case 4:17-cv-00454-GKF-JFJ              Document 241 Filed in USDC ND/OK on 11/16/18                          Page 35
                                                  of 59



  lasts              ”). 12 The Employee Agreement is unenforceable as a matter of law for two reasons.

  First, the scope of “Proprietary Information” is overly broad and not narrowly tailored. Indeed, it is

  hard to imagine any work that Mr. Suggs did as a VGT engineer not arguably falling within the

  scope of the Employee Agreement’s definition of confidential information. Second, the

  confidentiality provision purports to impose obligations on Mr. Suggs in perpetuity. Virginia courts

  reject such indefinite restrictions as unenforceable. VGT’s attempt to restrict Mr. Suggs in perpetuity

  should fare no better.

          C.       VGT Has Not Been Harmed by Castle Hill’s Submission of



          VGT’s motion for partial summary judgment seeks judgment on its VUTSA and DTSA

  claims as to liability only. This is because VGT has no damages associated with Castle Hill’s use of the alleged

  trade secret algorithm. It is undisputed that Castle Hill uses a wholly different algorithm for




               See SOF ¶¶ 24, 47. 13 VGT nevertheless claims that Castle Hill has “misappropriated” the

  12
           VGT has not sued Mr. Suggs directly, nor has it alleged that Mr. Suggs has violated any
  aspect of his Employee Agreement other than the confidentiality provision. Indeed, in its argument
  regarding                                      , VGT does not allege that Mr. Suggs took anything
  from VGT or copied VGT’s source code or any other information regarding the algorithm. Rather,
  it alleges that Mr. Suggs improperly used the idea of
               , which he remembered. Courts applying Virginia law have rejected trade secret claims
  based on “remembered information” such as this. See Phoenix Renovation Corp. v. Rodriguez, 258 F.
  App’x 536, 538 (former employees had no duty to refrain from using remembered information);
  Peace v. Conway, 435 S.E.2d 133 (Va. 1993) (same). Likewise, if the Court were to look at Tennessee
  law (where VGT was headquartered) to define the post-employment obligations Mr. Suggs owed
  VGT, an employees’ remembered information is “not a trade secret.” See ProductiveMD, LLC v.
  4UMD, LLC, 821 F. Supp. 2d 955, 967 (M.D. Tenn. 2011) (quoting PartyLite Gifts, Inc. v. Swiss Colony
  Occasions, 246 F. App’x 969, 973 (6th Cir. 2007)).
  13




                                                         28
Case 4:17-cv-00454-GKF-JFJ             Document 241 Filed in USDC ND/OK on 11/16/18                 Page 36
                                                 of 59



                                                                                            .




                                                  Even if the algorithm were a trade secret (it is not),

  and even had that algorithm been misappropriated (it was not), VGT has suffered no harm as a

  result of Castle Hill’s submission         , and is not entitled to any monetary or injunctive relief.

  For all of the foregoing reasons, VGT’s request for partial summary judgment on its trade secret

  claims should be denied.

  V.      VGT IS NOT ENTITLED                      TO     JUDGMENT           ON     CASTLE        HILL’S
          AFFIRMATIVE DEFENSES

          Despite VGT’s contentions, Castle Hill’s defenses are well supported by the facts and law,

  and the issues they raise are plainly relevant to the Court’s duty to weigh the equities in fashioning

  the equitable remedy of disgorgement – the only monetary relief currently requested by VGT. Castle

  Hill’s unclean hands and illegality defenses are based on three overarching categories of improper

  conduct by VGT: (1) VGT’s games do not comply with federal regulations and its intellectual

  property rights and potential damages in this action are therefore limited; (2) VGT misappropriated

  or copied aspects of the very trade dress it claims it owns and which it alleges Castle Hill copied; and

  (3) VGT has changed its games during the course of this lawsuit in ways that may contribute to or

  increase the likelihood of alleged confusion. While VGT failed to set forth a statement of material

  facts in support of the portion of its motion seeking dismissal of Castle Hill’s defenses, the evidence

  of record undisputedly supports Castle Hill’s position, and at a minimum should be left for the trier

  of fact to determine at trial, as at the summary judgment stage, Castle Hill need only demonstrate the

  existence of a genuine, material dispute regarding whether VGT engaged in inequitable conduct. See

  POM Wonderful LLC v. Coca Cola Co., 166 F. Supp. 3d 1085, 1097-98 (C.D. Cal. 2016). VGT’s

                                                     29
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                         Page 37
                                                of 59



  motion for partial summary judgment should be denied.

          A.      The Evidence Supports Castle Hill’s Unclean Hands Defense

          VGT first moves to dismiss Castle Hill’s unclean hands defense. The unclean hands defense

  is based on the maxim that “he who comes into equity must come with clean hands.” See Precision

  Instrument Mfg. Co. v. Automotive Maintenance Machinery Co., 324 U.S. 806, 814 (1945); accord Dollar Rent

  A Car Sys., Inc. v. P.R.P. Enter., Inc., 2006 WL 1266515, at *27 (N.D. Okla. May 8, 2006) (applying

  Okla. law). “It is a self-imposed ordinance that closes the doors of a court of equity to one tainted

  with inequitableness or bad faith relative to the matter in which he seeks relief, however improper

  may have been the behavior of the defendant.” Precision Instrument Mfg. Co., 324 U.S. at 814.

  Otherwise, the court would become an “abetter of inequity.” See id.

          “‘[U]nclean hands’ really just means that in equity as in law, the plaintiff’s fault, like the

  defendant’s may be relevant to the question of what if any remedy the plaintiff is entitled to.” Shondel

  v. McDermott, 775 F.2d 859, 868 (7th Cir. 1985). The doctrine does not require that a party live a

  blameless life, but does require that a party “shall have acted fairly and without fraud or deceit as to

  the controversy in issue.” Precision Instrument Mfg. Co., 324 U.S. at 814-15.

          To put it more simply, “the inequitable conduct must be related to the plaintiff’s cause of

  action.” See Worthington v. Anderson, 386 F.3d 1314, 1320 (10th Cir. 2004). In Worthington, the Tenth

  Circuit recognized two types of “related conduct” which permit application of the unclean hands

  doctrine in a trademark case. See id. “The first involves inequitable conduct toward the public, such

  as deception in or misuse of the trademark itself, resulting in harm to the public such that it would

  be wrong for a court of equity to reward the plaintiff’s conduct by granting relief.” Id. “The second

  type of related conduct arises when the plaintiff has acted inequitably toward the defendant in

  relation to the trademark.” Id.

          From this, VGT claims incorrectly that the defense is “narrow” in intellectual property cases.


                                                      30
Case 4:17-cv-00454-GKF-JFJ             Document 241 Filed in USDC ND/OK on 11/16/18                     Page 38
                                                 of 59



  To the contrary, a court of equity has a “wide range” of “discretion in refusing to aid the unclean

  litigant.” See Precision Instrument Mfg. Co., 324 U.S. at 815. The court is “not bound by formula or

  restrained by any limitation that tends to trammel the free and just exercise of discretion.” Id. (citing

  Keystone Driller Co. v. General Excavator Co., 290 U.S. 245, 246 (1933)). Although VGT’s conduct is

  both fraudulent and deceitful, VGT’s argument that only fraudulent or deceitful conduct can give

  rise to an unclean hands defense is too limited. “Any willful act concerning the cause of action

  which rightfully can be said to transgress equitable standards of conduct is sufficient cause for the

  invocation of the maxim [of unclean hands] by the chancellor.” Precision Instrument Mfg. Co., 324 U.S.

  at 815.

            Rather than apply the binding Worthington analysis, VGT endeavors to impose a higher

  burden on Castle Hill by relying on an unclean hands test set forth in non-binding authority from a

  copyright infringement case. See Doc. 179, p. 15 (citing Purzel Video GmbH v. St. Pierre, 10 F. Supp.

  3d 1158, 1169 (D. Colo. 2014)). 14 As discussed below, the evidence demonstrates that VGT’s

  inequitable conduct toward the public and Castle Hill renders VGT’s hands unclean.

                   i.      VGT’s Hands are Unclean Because its Games are Non-Compliant

            VGT’s games do not comply with federal regulations which bear directly on its trademark,

  trade dress, and trade secret rights and claims, and its hands are therefore unclean. Under the clean

  hands doctrine, “a federal court should not, in an ordinary case, lend its judicial power to a plaintiff

  who seeks to invoke that power for the purpose of consummating a transaction in clear violation of

  law.” See Johnson v. Yellow Cab Transit Co., 321 U.S. 383, 388 (1944). “An obviously sensible

  14
          It is settled that courts in the Tenth Circuit follow Worthington in trademark cases to
  determine whether an unclean hands defense applies. See 1-800 Contacts, Inc., 722 F.3d at 1255
  (applying Worthington); Utah Lighthouse Ministry, Inc. v. Discovery Computing, Inc., 2005 WL 3263157, at
  *9 (D. Utah Dec. 1, 2005) (applying Worthington); Trace Minerals Research, L.C. v. Mineral Res. Int’l, Inc.,
  505 F. Supp. 2d 1233, 1244 (D. Utah 2007) (discussing Worthington analysis); Intermountain Wind &
  Solar, LLC v. All American Exteriors, LLC, 2017 WL 2999232, at *6 (D. Utah April 19, 2017) (slip
  copy) (quoting 1-800 Contacts application of Worthington in context of discovery dispute).

                                                       31
Case 4:17-cv-00454-GKF-JFJ           Document 241 Filed in USDC ND/OK on 11/16/18                    Page 39
                                               of 59



  application of this principle is to withhold an equitable remedy that would encourage, or reward (and

  thereby encourage), illegal activity…” Shondel, 775 F.2d at 868. “A common modern application of

  ‘unclean hands’ is to intellectual-property cases in which an injunction is sought in aid of unlawful

  activity.” Id.

                          1.      VGT’s Games are Non-Compliant and Largely Illegal

          A significant number of VGT’s Class II games which form the basis of all of VGT’s

  trademark, trade dress, and trade secret claims, including all claims for equitable relief, appear to be

  non-compliant with federal regulations. After discovering information regarding VGT’s non-

  compliant games, Castle Hill proceeded, despite great resistance and requiring the assistance of the

  Court, see Docs. 117, 131, to take discovery regarding VGT’s illegal scheme. 15 Based on what Castle

  Hill has been able to discern, a large portion of VGT’s games did not or do not comply with the

  minimum technical requirements for Class II games, nor were they eligible for “grandfather” status,

  i.e. non-compliant but legal, but VGT has claimed that status nonetheless and placed its games in

  play.

          The NIGC promulgated minimum technical standards governing the use of electronic Class

  II games in 2008. The regulations provided that any “gaming system” manufactured after November

  10, 2008 had to comply with the minimum technical standards in order to legally operate. See 25

  C.F.R. § 547.5(b). The NIGC also included what is referred to as a “grandfathering” provision for

  15
           In footnotes, VGT claims that Castle Hill failed to provide a basis for its unclean hands and
  illegality defenses during discovery and the Court should disallow the defenses at trial. See Doc. 179,
  p. 12 n.5, p. 23 n.11, p. 24 n.13. Castle Hill’s defenses were made known to VGT, it had no duty to
  supplement its discovery, and regardless, VGT suffered no prejudice. See Defendants’ Opposition to
  Plaintiff Video Gaming Technologies, Inc.’s Motion in Limine Regarding Castle Hill Defenses, filed
  concurrently herewith and incorporated herein by reference. Castle Hill consistently questioned
  VGT and third-party witnesses regarding these issues over the course of approximately fifteen
  30(b)(1) and 30(b)(6) depositions, plus written discovery requests, correspondence between counsel,
  the meet and confer process, and Castle Hill’s motion to compel on VGT’s non-compliant games,
  which was briefed, argued, and granted by the Court. VGT is informed regarding these defenses and
  there is no basis for dismissal based on failure to provide notice or prejudice to VGT.

                                                     32
Case 4:17-cv-00454-GKF-JFJ           Document 241 Filed in USDC ND/OK on 11/16/18                  Page 40
                                               of 59



  older gaming systems, which provided that gaming systems “manufactured” before November 10,

  2008 which are not compliant with 25 C.F.R. 547.5(b) could be used if certain other conditions were

  met. See 25 C.F.R. § 547.5(a). In order to qualify as “manufactured” before November 10, 2008, a

  gaming system must be “off the assembly line and ready to use.” See Ex. 28 at 5.




                                                               .

          The regulation plainly defines “Class II gaming system” to include “All components, whether

  or not technological aids in electronic, computer, mechanical, or other technologic form, that

  function together to aid the play of one or more Class II games…” See 25 C.F.R. § 547.2 (emphasis

  added). Therefore, to be legally grandfathered, “all components” must be “manufactured” before

  November 10, 2008. See id.; see also 25 C.F.R. § 547.5(a).



                    See SOF ¶ 61.




                           .




                                                     33
Case 4:17-cv-00454-GKF-JFJ           Document 241 Filed in USDC ND/OK on 11/16/18                  Page 41
                                               of 59




                         2.      VGT’s Non-Compliant Games Deceive and Harm the Public

         VGT’s illegal games deceive the public. The NIGC’s minimum technical standards establish

  standards governing the use of electronic, computer, or other technologic aids in connection with

  the play of Class II games. See 25 C.F.R. § 547.1. The minimum technical standards are authorized

  by the Indian Gaming Regulatory Act, 25 U.S.C. 2706(b), which provides that the NIGC “shall

  promulgate such regulations and guidelines as it deems appropriate to implement the provisions of

  this chapter.” See 25 U.S.C. § 2706(b)(10). The purpose of the Indian Gaming Regulatory Act, under

  which the minimum technical standards are promulgated and implemented by the NIGC, include,

  inter alia, “to assure that gaming is conducted fairly and honestly by both the operator and players.”


                                                    34
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                     Page 42
                                                of 59



  See 25 U.S.C. § 2702(2). The minimum technical standards also specifically discuss fairness to users

  as an overarching purpose and rule of general application of the regulations: “Fairness. No Class II

  gaming system may cheat or mislead users.” See 25 C.F.R. § 547.4(a).

          While VGT tries to disassociate the minimum technical standards from its goals of

  protecting the public to make VGT’s illegal acts appear less harmful, it is evident that the minimum

  technical standards were promulgated to ensure the public is able to enjoy fair and honest gaming.

  VGT’s efforts to circumnavigate the regulatory framework constitutes inequitable conduct toward

  the public. See CreAgri, Inc. v. Usana Health Sciences, Inc., 474 F.3d 626, 630 (9th Cir. 2007) (“[T]o hold

  otherwise would be to put the government in the ‘anomalous position’ of extending the benefits of

  trademark protection to a seller based upon actions the seller took in violation of that government’s

  own laws . . . It is doubtful that the trademark statute - passed pursuant to Congress’s power under

  the Commerce Clause - ‘was . . . intended to recognize . . . shipments in commerce in contravention

  of other regulatory acts promulgated [by Congress] under [that same constitutional provision].’”).

                          3.       VGT’s Non-Compliant Games Directly Harm Castle Hill

          VGT’s illegal games have also directly affected Castle Hill. VGT claims to have acquired

  trademarks, trade dress, and trade secret rights by using its illegal games in commerce. See e.g., Doc.

  103, ¶¶ 19-22, 39-40, 45, 141. Based on the rights it has allegedly acquired through the use in

  commerce of its illegal games, VGT has turned around and sued Castle Hill for trademark, trade

  dress, and trade secret misappropriation. See generally id.

          Only lawful use in commerce, however, creates trademark rights. See United Phosphorus, Ltd. v.

  Midland Fumigant, Inc., 205 F.3d 1219, 1225 (10th Cir. 2000) (“Midland correctly states that in order

  to obtain rights in the Quick-Phos trademark, United needed to show the name was lawfully used in

  commerce.”). VGT’s infringement claims premised on rights it purportedly acquired by using illegal

  games must fail under the doctrine of unclean hands. See CreAgri, Inc., 474 F.3d at 633-34 (granting


                                                      35
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                     Page 43
                                                of 59



  summary judgment and dismissing plaintiff’s trademark infringement and related claims based on

  unlawful use).

          VGT’s claim of priority of its trademarks and alleged trade dress has a direct effect on the

  claims in the current litigation. To the extent that VGT does not have priority in some or all of its

  trademarks or claimed trade dress, its hands are not clean, and its claims fail. See Evra Pharm., Inc. v.

  American Cyanamid Co., 755 F. Supp. 36, 39, 39 n.1 (D.P.R. 1991) (awarding summary judgment to

  defendant and dismissing plaintiff’s infringement claims based on “unlawful use” defense and

  recognizing doctrine evolved from unclean hands defense); GoClear LLC v. Target Corp., 2009 WL

  160624, at *3-6 (N.D. Cal. Jan 22, 2009) (awarding summary judgment on counterclaims based on

  “unlawful use” and recognizing doctrine evolved from doctrine of unclean hands).

          Further, as a matter of equity and public policy, the Court should not permit VGT to

  blatantly ignore government regulations, claim rights based on the use of illegal games subject to

  those regulations, and then seek the aid of this Court’s equitable power to enforce those rights. See

  CreAgri, 474 F.3d at 630 (“Second, as a policy matter, to give trademark priority to a seller who

  rushes to market without taking care to carefully comply with the relevant regulations would be to

  reward the hasty at the expense of the diligent.”). And any deceitful conduct that VGT used to

  acquire the business and market share it alleges has been lost constitutes unclean hands. See Coca Cola

  Co., 166 F. Supp. 3d at 1099 (“Indeed, because ‘equity requires that those seeking its protection shall

  have acted fairly and without fraud or deceit as to the controversy in issue,’ Coca-Cola need only

  prove that POM engaged in deceitful conduct to acquire the business and market share it alleges has

  been lost to Coca-Cola.”) (citation omitted).

          VGT’s illegal games also directly impact VGT’s right to the damages VGT seeks for its

  claims. See Youngs Rubber Corp. v. C.I. Lee & Co., 45 F.2d 103, 110 (2d Cir. 1930) (holding plaintiff

  with valid trademark only entitled to protect sales which are legal and ordering district court to


                                                      36
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                   Page 44
                                                of 59



  award no damages on accounting unless plaintiff “can show it has been injured in respect to sales it

  might legally have made”); Bambu Sales v. Testini, 1988 WL 138055, at *1 (E.D.N.Y. Dec. 21, 1988)

  (denying motion to strike affirmative defense of unclean hands as relevant to plaintiff’s right to an

  accounting under Lanham Act); Dream Team Collectibles, Inc. v. NBA Properties, Inc., 958 F. Supp. 1401,

  1418 (E.D. Mo. 1997). The Lanham Act provides that an award of defendant’s profits, which VGT

  seeks, is “subject to the principles of equity.” See 15. U.S.C. § 1117(a).




                                                                  16



          Finally, to the extent that the Court applies a balancing of the equities, it would favor Castle

  Hill. The evidence of record proves




                                                                                Hill has now been

  dragged through costly litigation for over a year even though a significant number of VGT’s games

  were never legal to begin with. The equities favor Castle Hill.

                  ii.     VGT’s Hands are Unclean Because its “Trade Dress” is
                          Misappropriated and Copied

          VGT’s alleged trade dress is misappropriated and copied from industry competitors. Because

  the very “trade dress” which forms the basis of its claims against Castle Hill is misappropriated and

  16
          VGT claims it would be “entirely inappropriate to permit CHG to reframe its unclean hands
  defense,” arguing that Castle Hill “first expressed its “profits-focused relevance argument” in its
  “reply in support of its motion to compel on August 27, 2018.” See Doc. 179, p. 21. But the plain
  language of the Lanham Act provides that the Court should weigh equitable considerations in
  fashioning appropriate relief, as any award of profits (or damages) is “subject to the principles of
  equity.” See 15 U.S.C. § 1117(a). Castle Hill pled its defenses and made them known to VGT in a
  timely manner; discovered evidence of VGT’s improper conduct; and made efforts met with great
  resistance from VGT to take further discovery regarding these affirmative defenses.

                                                      37
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                     Page 45
                                                of 59



  copied, VGT has acted inequitably toward Castle Hill “in relation to the trademark,” and its hands

  are unclean. See Worthington v. Anderson, 386 F.3d at 1320.

          VGT bases its trade dress claims on Castle Hill’s alleged copying of VGT’s (ever-changing)

  trade dress, which is comprised of VGT’s Game Cabinet, VGT Themes, VGT Game Play Sound,

  Award Sound, Bingo Play and Pays, and VGT’s Red Screen Free Spins features. See Doc. 103 ¶¶ 22-

  31. Aside from these features being non-distinctive and industry standard, see Doc. 184, VGT copied

  and emulated several of these features from its competitors, incorporated those elements into its

  games, and is now claiming Castle Hill took what was never VGT’s to begin with.

          Most shocking,                                                                             . See

  SOF ¶ 65.




          VGT’s trade dress claims against Castle Hill also include allegations that Castle Hill copied

  VGT’s bingo patterns and payouts. See e.g., Doc. 103, ¶¶ 26, 78-79. Because VGT’s trade dress

  claims against Castle Hill are based in part on stolen confidential mathematical information, its

  hands are unclean on that basis alone. While VGT asserts this amounts to a jus tertii defense, this is

  not the case, because Castle Hill is not just pointing at inequitable conduct VGT committed toward

  a third party. See 1-800 Contacts, Inc. v. Lens.com, Inc., 722 F.3d 1229, 1255 (10th Cir. 2013) (explaining

  jus tertii defense). The unclean hands doctrine expressly applies in situations where parties like VGT

  use inequitable conduct to acquire the rights which they assert in the present action. See e.g., Coca Cola


                                                      38
Case 4:17-cv-00454-GKF-JFJ              Document 241 Filed in USDC ND/OK on 11/16/18                         Page 46
                                                  of 59



  Co., 166 F. Supp. 3d at 1091-92 (“The doctrine of unclean hands ‘bars relief to a plaintiff who has

  violated conscience, good faith or other equitable principles in his prior conduct, as well as to a plaintiff

  who has dirtied his hands in acquiring the right presently asserted.’”) (emphasis added) (citation omitted).

          VGT’s remaining trade dress elements, and VGT’s trade dress claims against Castle Hill, are

  also based largely on copies of its predecessors and competitors.




                                                    . VGT accuses Castle Hill of copying VGT’s themes,

  when in actuality, VGT has a product strategy designed around using industry-standard themes used

  by other manufacturers. See SOF ¶ 68. VGT accuses Castle Hill of copying VGT’s game cabinet, but

  VGT uses a game cabinet that other manufacturers used first. See SOF ¶ 69. VGT accuses Castle

  Hill of copying bingo patterns that VGT did not invent. See SOF ¶ 70.




          See SOF ¶¶ 71-72.

          Even to the extent the Court applies a balancing of the equities, it would favor Castle Hill.

  VGT cannot turn around and sue Castle Hill for all of the proprietary or generic ideas VGT stole or

  copied from its predecessors and competitors over the years. VGT’s hands are dirty and summary

  judgment should be denied. See Zurco, Inc. v. Sloan Valve Co., 785 F. Supp. 2d 476, 502 (W.D. Pa.

  2011) (denying summary judgment of unclean hands defense where defendant alleged plaintiff was

  seeking to prevent competitors from using generic or merely descriptive mark).

                   iii.     VGT’s Hands are Unclean Because VGT’s Recent Changes to its
                            “Trade Dress” Increases the Alleged Likelihood of Confusion

          VGT’s hands are also unclean because it has changed its claimed trade dress during the



                                                         39
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                    Page 47
                                                of 59



  course of this litigation in ways that may increase the alleged likelihood of confusion. 17 “[I]f

  plaintiff’s own misconduct is the source – or part of the source – of the alleged consumer confusion,

  then this may limit the scope of the plaintiff’s related equitable claims and remedies, which include

  disgorgement of profits.” Lawn Managers, Inc. v. Progressive Lawn Managers, Inc., 2017 WL 3189486, at

  *6 (E.D. Mo. July 27, 2017). “Even if plaintiff’s unclean hands do not bar its trademark claims

  outright, the defense may be relevant to plaintiff’s scope of relief.” Id. (denying plaintiff’s motion for

  summary judgment on defendant’s unclean hands defense).

          VGT has made several changes to its games which are likely to increase the alleged

  consumer confusion, and for which VGT’s claims should be barred or its relief limited. 18 VGT has

  changed its red screen free spins feature in multiple ways during the course of this litigation to make

  it more similar to Castle Hill’s instant free pay feature. As of July 12, 2018, when VGT’s President

  was deposed, VGT’s red screen free spins feature did not feature a video; instead, it featured a

  translucent red film. See SOF ¶ 74. Likewise, VGT did not turn the reels red during the red screen

  free spins feature. See SOF ¶¶ 73-74. Castle Hill’s instant free pay feature, on the other hand, has

  always played a video with the instant free pay logo, and its games’ reels turned red. See SOF ¶¶ 73-

  74. VGT has now changed its red screen free spins feature in ways that make it more similar to


  17
          This section of Castle Hill’s opposition and the related facts are further evidence of VGT’s
  lack of a consistent trade dress. See Castle Hill’s brief in support of motion for summary judgment
  (Doc. 184), pp. 34-38.
  18
           To the extent VGT claims late notice, the evidence demonstrates that Castle Hill did not
  become aware of VGT’s addition of red reels to its red screen free spins feature until, at the earliest,
  the last day of fact discovery. As of July 12, 2018, when VGT’s President, Jay Sevigny, was deposed,
  VGT was still planning to change its red screen free spins feature. On the afternoon of August 3,
  2018, the final day of fact discovery, VGT’s 30(b)(6) witness, Josh Davis, testified that the feature
  had been changed. Castle Hill employee, Dan Fulton, has submitted a declaration with additional
  details on the changes and exactly how similar VGT’s feature now is to Castle Hill’s feature. Castle
  Hill notes that VGT failed to supplement its discovery responses regarding facts supporting VGT’s
  trade dress claims, in which VGT had previously claimed “                          to its red screen
  free spins and bingo play and pay features, among others, so Castle Hill should not be punished for
  material information withheld by VGT from Castle Hill in discovery. See Ex. 2 at 107-110.

                                                      40
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                    Page 48
                                                of 59



  Castle Hill’s instant free pay feature. See SOF ¶¶ 73-76. VGT’s feature now plays a video with

  persistent text on the screen like Castle Hill, instead of displaying a red tint or film. See SOF ¶ 73, 75.

  VGT has also added reels which turn red to its red screen free spins feature, another implementation

  which Castle Hill already used in connection with its instant free pay feature, and which makes the

  features and games more similar. See SOF ¶¶ 73, 76. VGT has also changed various implementations

  of the ways in which its games play and pay in ways that makes its games more similar to Castle

  Hill’s games. See SOF ¶ 77. VGT has also changed its branding by mixing its branding with its

  parent company, and it has eliminated its house mark on some of its games. See SOF ¶ 78.

          VGT’s game changes constitute inequitable conduct toward the public and Castle Hill. First,

  as VGT has recognized, one purpose of the Lanham Act is to protect the public. See Doc. 179, p. 29

  (quoting S. Rep. No. 1333, at 3 (1946) and Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 782 n.15

  (1992) (Stevens, J., concurring) (quoting S. Rep. No. 1333, at 3)). VGT’s active efforts to change its

  games to make them more similar to Castle Hill’s games reduces the public confidence in its ability

  to play Castle Hill’s games when it wants to do so. And VGT’s removal of its house marks from its

  games increases the similarity of the products and the alleged likelihood of confusion to consumers.

  See Water Pik, Inc. v. Med-Systems, Inc., 726 F.3d 1136, 1156-57, 1159 (10th Cir. 2013).

          VGT’s efforts to copy Castle Hill’s games is also inequitable conduct toward Castle Hill in

  relation to the trademarks. To allow VGT to create alleged confusion between VGT and Castle

  Hill’s games during the course of the litigation, while suing Castle Hill for damages, is inequitable.

  See Metro Publishing, Ltd. v. San Jose Mercury News, Inc., 861 F. Supp. 870, 880 (N.D. Cal. 1994) (“To

  allow Metro Publishing to create and exploit this link and then subsequently allow it to sue the

  Mercury News for damages because of it is completely inconsistent with the traditional notions of

  equity and fairness. Accordingly, summary judgment in favor of the Mercury News is warranted on

  this basis [unclean hands] alone.”).


                                                      41
Case 4:17-cv-00454-GKF-JFJ             Document 241 Filed in USDC ND/OK on 11/16/18                      Page 49
                                                 of 59



          VGT accuses Castle Hill of the same conduct which VGT has engaged in during the course

  of the lawsuit. Castle Hill has invested significant time and resources in developing its Class II

  games. VGT nonetheless has changed its games during the course of this litigation to make its

  games more similar to Castle Hill’s games, including emulating the Castle Hill instant free pay

  feature and modifying various other “bingo play and pay” features to make them more similar to

  Castle Hill’s games. Simultaneously, VGT accuses Castle Hill of causing consumer confusion based

  on these very same purported trade dress features. See e.g., Doc. 103, ¶ 75 (“Thus, CHG has copied

  VGT’s . . . BINGO PLAY AND PAYS, and RED SCREEN FREE SPINS trade dress features.”).

  VGT’s game changes, however, may be the source of likelihood of confusion in the marketplace,

  and its claims and remedies should therefore be limited. See Lawn Managers, Inc., 2017 WL 3189486,

  at *6. Castle Hill should be permitted to pursue its unclean hands defense. See Radiancy, Inc. v. Viatek

  Consumer Prods. Group, Inc., 138 F. Supp. 3d 303, 319 (S.D.N.Y. 2014) (denying motion to strike

  unclean hands defense based on allegation that plaintiff was engaging in same conduct of which it

  was accusing defendant).

          A balancing of the equities strongly weighs in favor of allowing Castle Hill to pursue this

  defense at trial. VGT’s hands are dirty; it cannot in good faith sue Castle Hill for the same conduct it

  is engaging in. See Metro Publishing, Ltd., 861 F. Supp. at 880; Rainbow Play Sys., Inc. v. Backyard

  Adventure, Inc., 2009 WL 3150984, at *4-6 (D.S.D. Sept. 28, 2009) (awarding summary judgment to

  defendant on plaintiff’s Lanham Act claim based on unclean hands defense because plaintiff was

  engaging in similar advertising conduct as defendant); Haagen-Dazs, Inc. v. Frusen Gladje Ltd., 493 F.

  Supp. 73, 76 (S.D.N.Y. 1980) (“In short, since plaintiff’s hands are similarly unclean, they may not

  secure equitable relief simply because the defendants’ hands may be a shade or two less clean.”).

  VGT’s motion for partial summary judgment should be denied.




                                                       42
Case 4:17-cv-00454-GKF-JFJ           Document 241 Filed in USDC ND/OK on 11/16/18                    Page 50
                                               of 59



                  iv.     Castle Hill’s Unclean Hands Defense Applies to VGT’s Oklahoma
                          Law Claims

          VGT only discusses Castle Hill’s affirmative defenses in relation to VGT’s federal Lanham

  Act claims, but the law and facts demonstrate VGT’s unclean hands should preclude its recovery on

  its Oklahoma claims. In Counts III-VI, VGT brings claims under Oklahoma law. See Doc. 103, ¶¶

  113-17 (Oklahoma Deceptive Practices Act claim); ¶¶ 118-22 (common law unfair competition and

  infringement claim); ¶¶ 123-32 (Oklahoma Uniform Trade Secrets Act claim); ¶¶ 133-37

  (misappropriation of confidential business information claim). Castle Hill raised its unclean hands

  defense in response to all of VGT’s claims. See Doc. 112, ¶¶ 2, 17 (affirmative defenses). Castle Hill’s

  unclean hands defense applies with equal force to defeat those claims.

          Oklahoma recognizes the unclean hands defense. Under Oklahoma law, “[a] party must

  come before the court with ‘clean hands’ to obtain equitable relief.” See Dollar Rent A Car Sys., Inc.,

  2006 WL 1266515, at *27 (applying Okla. law). “An unclean hands defense requires showing that

  Plaintiffs tainted the transaction that they are challenging by undertaking the very fraudulent and

  deceitful conduct of which they complain.” SFF-TIR, LLC v. Stephenson, 250 F. Supp. 3d 856, 994

  (N.D. Okla. 2017) (applying Okla. law) (citation omitted).

          Like federal law, Oklahoma recognizes that “[u]nder the ‘clean hands’ doctrine, a party

  cannot invoke the equitable powers of the court when guilty of unlawful or inequitable conduct in

  relation to the matter for which relief is sought. See Dollar Rent A Car Sys., Inc., 2006 WL 1266515, at

  *27 (applying Okla. law). “Under the maxim, [h]e who comes into equity must come with clean

  hands, a court of equity will not lend its aid in any manner to one who has been guilty of unlawful or

  inequitable conduct in a transaction from which he seeks relief, nor to one who has been a

  participant in a transaction the purpose of which was to defraud a third person, to defraud creditors,

  or to defraud the government….” SFF-TIR, LLC, 250 F. Supp. 3d at 994 (applying Okla. law)

  (citation omitted).

                                                     43
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                      Page 51
                                                of 59



          The same evidence supports Castle Hill’s unclean hands defenses to VGT’s Oklahoma

  claims. As discussed above, (1) VGT’s non-compliant, illegally grandfathered games constitute

  unlawful conduct which has harmed the public and Castle Hill; (2) VGT’s misappropriation and

  emulation of its competitors and use of those alleged rights as the basis for its claims against Castle

  Hill has harmed Castle Hill; and (3) VGT’s changes to its trade dress during the course of this case

  in ways to make its games more like Castle Hill’s games and increase the likelihood of confusion

  render VGT’s hands dirty. VGT’s motion for summary judgment should be denied.

                  v.      Castle Hill’s Unclean Hands Defense Applies to VGT’s Trade Secret
                          Claims

          VGT’s trade secret claims will also fail at trial based on VGT’s unclean hands and VGT’s

  motion for summary judgment should be denied. In addition to the Oklahoma Uniform Trade

  Secrets Act claim (Count V), VGT has asserted claims under the Defend Trade Secrets Act (Count

  VII) and the Virginia Uniform Trade Secrets Act (Count VIII). See Doc. 103, ¶¶ 123-32, 138-57.

  Castle Hill’s unclean hands defense also applies to defeat VGT’s trade secret claims.

          Unclean hands is recognized as a defense to trade secret claims. See Microstrategy, Inc. v.

  Business Objects, S.A., 331 F. Supp. 2d 396, 419 (E.D. Va. 2004) (recognizing unclean hands defense

  to trade secret claim brought under Virginia Uniform Trade Secrets Act); Nalco Chemical Co. v. Hydro

  Tech., Inc., 148 F.R.D. 608, 616-17 (E.D. Wis. 1993) (finding production of allegedly stolen

  competitor’s price book in possession of plaintiff relevant because “its production may lead to

  circumstantial evidence helpful to defendants’ equitable defense of unclean hands” to plaintiff’s

  trade secret claim); Bagby Elevator Co., Inc. v. Schindler Elevator Corp., 2009 WL 10703109, at *12 (N.D.

  Tex. Jan. 23, 2009) (finding testimony of plaintiff’s former president that plaintiff’s employees

  inquired into competitors’ contract terms, expiration date, and pricing information, and that new

  hires brought confidential information from former employers with them relevant testimony that “if

  true, would support [defendant]’s unclean hands defense” to plaintiff’s trade secret claims).

                                                     44
Case 4:17-cv-00454-GKF-JFJ           Document 241 Filed in USDC ND/OK on 11/16/18                   Page 52
                                               of 59



          VGT’s hands are unclean and its trade secret claims will fail. VGT alleges Castle Hill

  misappropriated various trade secrets, including “math underlying the games, the specifics of the

  manner in which the bingo game is played in the games (including the process and timing of the ball

  drops), and the source code used to operate the games…” See Doc. 103, ¶ 41.




          VGT’s alleged trade secrets were built through its inequitable conduct including

                                                  . VGT’s inequitable conduct is directly related to its

  trade secret claims, its hands are unclean, and its motion for summary judgment should be denied.

  See Microstrategy, Inc., 331 F. Supp. 2d at 419 (finding unclean hands defense under Virginia Uniform

  Trade Secrets Act applies where there is evidence that inequitable conduct directly relates to matter

  in litigation)

          B.       The Evidence Supports Castle Hill’s Illegality Defense

          VGT next moves to dismiss Castle Hill’s illegality defense. As set forth above, however,

  VGT’s games are largely non-compliant, were improperly grandfathered, and are therefore illegal,

  and VGT’s claims and potential damages should be limited. 19

          VGT asserts that the defense of illegality “stands on shaky grounds,” but it is settled that “a


  19
           VGT asserts that Castle Hill’s amended answer, which included its illegality defense, was
  improper because it was filed without leave of court. See Doc. 179, n.14. VGT filed its amended
  complaint, over Castle Hill’s objection, after obtaining leave of Court. See Doc. 102. Castle Hill was
  required to file its responsive pleading within 14 days unless another time was ordered by the Court.
  See Fed. R. Civ. P. 15(a)(3). And Castle Hill was required to set forth its affirmative defenses in that
  responsive pleading. See Fed. R. Civ. P. 8(c). Castle Hill timely filed its answer to first amended
  complaint, which included affirmative defenses. See Doc. 112. Castle Hill’s illegality defense – based
  largely on information VGT disclosed on the eve of the close of discovery – was properly raised.

                                                     45
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                     Page 53
                                                of 59



  court won’t use its equitable power to facilitate illegal conduct.” See Fourth Corner Credit Union v. Fed.

  Reserve Bank of Kansas City, 861 F.3d 1052, 1054 (10th Cir. 2017) (plurality opinion); accord American

  Bank & Trust Co. v. Bond Intern. Ltd., 2007 WL 188134, at *4 (N.D. Okla. Jan. 19, 2007) (applying

  Okla. law). The Tenth Circuit has recognized the applicability of illegality defenses in trademark

  cases, finding that “lawful use” is required to acquire trademark rights. See United Phosphorus, Ltd., 205

  F.3d at 1225 (discussing “well-reasoned proposition that shipping goods in violation of federal law

  cannot qualify as the ‘use in commerce’ necessary to establish trademark rights”); see also CreAgri, 474

  F.3d at 630 (recognizing that the Tenth Circuit “has adopted and applied” the lawful use rule).

          VGT argues that the illegality defense is “difficult to establish,” picking and choosing

  elements from various Circuit Courts which have discussed the unlawful use rule. While the Tenth

  Circuit has not yet had occasion to define the full scope of the lawful use analysis, the most

  commonly discussed elements applied by Circuit Courts all weigh in favor of Castle Hill.

                  i.      VGT’s Games are Non-Compliant

          As discussed in connection with Castle Hill’s unclean hands defense, VGT’s games do not

  comply with federal regulations. VGT implores the Court to impose a heightened requirement for

  proving unlawful use which originates from the United States Trademark Trial and Appeal Board

  and discussed in dicta by the Eleventh Circuit: “A use is unlawful if ‘the issue of compliance has

  previously been determined (with a finding of non-compliance) by a court or government agency

  having competent jurisdiction under the statute involved, or where there has been a per se violation

  of a statute regulating the sale of a party’s goods.” FN Herstal SA v. Clyde Armory Inc., 838 F.3d 1071,

  1087 (11th Cir. 2016) (recognizing but declining to adopt unlawful use doctrine).

          Even if the Court were to apply this standard, VGT’s conduct constitutes per se violations of

  the NIGC regulations.

                                                                                               . See SOF ¶¶


                                                      46
Case 4:17-cv-00454-GKF-JFJ              Document 241 Filed in USDC ND/OK on 11/16/18                 Page 54
                                                  of 59



  59-60. Although the NIGC requires “[a]ll components” of a Class II gaming system to be

  “manufactured” before November 10, 2018, see 25 C.F.R. §§ 547.2, 547.5(a),



                                                                                      . See SOF ¶ 60-61.

  VGT’s willful violations of the regulations also included

                                                                   . See SOF ¶ 63. These flagrant

  violations constitute per se regulatory non-compliance because they violate the regulation “on its

  face.” See Evra Pharm., Inc., 755 F. Supp. at 41 (finding per se violation of Food, Drug and Cosmetic

  Act and FDA regulations where label did not contain correct type size of drug name which were

  violations of statute on its face).

                  ii.      There is a Nexus Between VGT’s Non-Compliance & Trademark Use

          VGT argues that even its if games are non-compliant, its misconduct is collateral to its

  trademark use. Again, although no Circuit Court appears to have adopted this requirement, the

  Eleventh and Ninth Circuits have both discussed the requirement in dicta. See CreAgri, Inc., 474 F.3d

  at 631 (“The nexus requirement springs from decisions of the Trademark Trial and Appeal Board:

  ‘There must be some nexus between . . . use of [a] mark and [an] alleged violation before it can be

  said that the unlawfulness of [a] sale or shipment has resulted in [a trademark’s] invalidity…” . . . We

  neither adopt nor reject [this] rule…”); Southern California Darts Ass’n v. Zaffina, 762 F.3d 921, 931

  (9th Cir. 2014) (“We also noted that trademark protection might not be withheld on account of

  unlawful conduct that is ‘collateral,’ namely where there is an insufficient nexus between the

  unlawful behavior and the use of the mark in commerce.”) (emphasis added); FN Herstal SA, 838

  F.3d at 1087 (“Not every violation, however, will be sufficient to justify denial of trademark

  protection based on unlawful use. There must be a nexus between the use of the mark and the

  violation, and the violation must be material.”).


                                                      47
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                     Page 55
                                                of 59



          Even assuming that the Tenth Circuit would impose a nexus requirement, VGT’s regulatory

  non-compliance is directly related to its use of its trademarks and alleged trade dress. As discussed,

  VGT’s trade dress claims brought under the Lanham Act and similar trademark statutes seeks

  protection of VGT’s Game Cabinet, VGT Themes, VGT Game Play Sound, Award Sound, Bingo

  Play and Pays, and VGT’s Red Screen Free Spins features. See Doc. 103 ¶¶ 22-31. The NIGC

  minimum technical standards, with which VGT has failed to comply, regulate the appearance, use,

  and functionality of all of these features. See e.g. 25 C.F.R. § 547.7 (minimum technical hardware

  standards for Class II games); § 547.8 (minimum standards for Class II gaming systems, including

  player interface displays and bingo games); § 547.14 (minimum technical standards for electronic

  random number generation); § 547.16 (minimum standards for game artwork, glass, and rules).

          Simply put, the minimum technical standards specify the requirements for all components of

  a Class II gaming system, which directly relates to VGT’s use of its alleged trade dress and each of

  its claimed trade dress features in commerce. VGT’s failure to lawfully use its alleged trade dress

  means it has no rights or reduced trade dress rights and damages than it has claimed. VGT’s attempt

  to equate its illegal conduct to collateral violations like unsubstantiated tax evasions, see Zaffina, 762

  F.3d at 932, are unavailing. VGT’s non-compliance is much more analogous to violations of

  misbranded products, see CreAgri, Inc., 474 F.3d at 631-32, or labeling violations, see Evra Pharm., Inc.,

  755 F. Supp. at 41, because the regulations which VGT violated govern how VGT’s products appear

  to customers in commerce. In short, VGT’s violations relate to regulations governing how VGT’s

  alleged trade dress, as well as its trademark and trade secrets, must be used in commerce. To the

  extent a nexus between VGT’s violations and its trademark use is required, Castle Hill will prevail on

  this factor.

                  iii.    VGT’s Non-Compliance is Material

          VGT argues that its violations are not “material.” To the extent the Court applies this factor,


                                                      48
Case 4:17-cv-00454-GKF-JFJ           Document 241 Filed in USDC ND/OK on 11/16/18                   Page 56
                                               of 59



  this requirement means that “the violation must be of ‘such gravity and significance that the usage

  must be considered unlawful – so tainted that, as a matter of law, it could create no trademark

  rights.’” See FN Herstal SA, 838 F.3d at 1087 (citation omitted). As Circuit Courts have explained,

  this “materiality” requirement comes from General Mills Inc. v. Health Valley Foods, 24 U.S.P.Q.2d

  1270, 1274 (T.T.A.B. 1992), which involved a dispute between two manufacturers of cereal. As the

  CreAgri Court explained, in General Mills, only the first 18 boxes of cereal from General Mills was

  mislabeled under the regulations involved before the issue was corrected, and then General Mills

  sold over 600,000 correctly labeled boxes before the other party in the case even applied to register

  its product. The T.T.A.B. found that cancelation of General Mills’ mark based on unlawful use

  under those facts would be draconian. See CreAgri, 474 F.3d at 633 (discussing General Mills Inc., 24

  U.S.P.Q.2d at 1274).

         This case is nothing like General Mills.




                                                                            See e.g. Evra Pharm., Inc., 755


                                                    49
Case 4:17-cv-00454-GKF-JFJ            Document 241 Filed in USDC ND/OK on 11/16/18                   Page 57
                                                of 59



  F. Supp. at 41 (violations of regulations concerning typesize and placement of information on

  pharmaceutical products not de minimis). A material amount of VGT’s games are non-compliant and

  not legally grandfathered, and summary judgment should be denied.

                   iv.     Castle Hill’s Illegality Defense Applies to VGT’s Oklahoma Law
                           Claims

            VGT’s Oklahoma claims similarly fail or its potential damages should be reduced because of

  its non-compliant and illegally grandfathered games and summary judgment should be denied. Castle

  Hill raised the defense of illegality to all of VGT’s claims. See Doc. 112, ¶ 18 (affirmative defenses).

            Oklahoma recognizes the illegality defense. See American Bank & Trust Co., 2007 WL 188134,

  at *4 (N.D. Okla. Jan. 19, 2007) (applying Okla. law) (Court discussing prior ruling that it would not

  “invoke its equitable powers to protect a party that participated in the illegality of which it

  complains.”).

            The same evidence supports Castle Hill’s illegality defenses to VGT’s Oklahoma claims. As

  discussed above, VGT’s non-compliant, illegally grandfathered games constitute material and

  unlawful conduct directly related to VGT’s use of its trademarks and alleged trade dress in

  commerce. VGT’s motion for summary judgment should be denied.

  VI.       CONCLUSION

            For all of the foregoing reasons, VGT’s motion for partial summary judgment should be

  denied.




                                                     50
Case 4:17-cv-00454-GKF-JFJ   Document 241 Filed in USDC ND/OK on 11/16/18            Page 58
                                       of 59



  Dated: November 16, 2018            Respectfully submitted,

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                                        51
Case 4:17-cv-00454-GKF-JFJ           Document 241 Filed in USDC ND/OK on 11/16/18                  Page 59
                                               of 59



                                    CERTIFICATE OF SERVICE

        I hereby certify that on this 16th day of November, 2018, I caused a copy of the foregoing
  DEFENDANTS’ BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL
  SUMMARY JUDGMENT – PUBLIC REDACTED VERSION to be filed using the Court’s
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